Case 2:05-cr-20028-SH|\/| Document 21 Filed 05/24/05 Page 1 of 2 Page|D 13

IN THE UNITED STATES DISTRICT COURT
FOR THE
W'ESTERN DISTRICT OF TENNESSEE

Case# 65"' 2 295
Sryled: U\ SYAY .\D.€/\/\I§\(\>J\ §

A SEALED DOCUMENT WAS FILED

Document # 21

Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:05-CR-20028 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

 

Randolph W. Alden

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

